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                         Exhibit E
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                                                 Exhibit E – U.S. Patent No. 10,985,956


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 8-16. Such vehicles are collectively referred to as the “Accused Products.”
The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested in, offered
for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused Products
supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality identified in this
chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 10,985,956 (the “’956 patent”).


                Claim 1                                                    Accused Products
 [PRE] A method for use in a mobile      An Accused Product configured to operate on an LTE network is a subscriber station. As
 subscriber station, the method          evidenced below, the Accused Products perform the claimed method when operating on an
 comprising:                             LTE network.


 [A][1] receiving an assignment of a As evidenced below, an Accused Product operating on an LTE network receives an
 single access identifier from a subset assignment of a single access identifier from a subset of access identifiers of a plurality of
 of access identifiers of a plurality of access identifiers.
 access identifiers,




                                                                     1
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                                            Exhibit E – U.S. Patent No. 10,985,956


              Claim 1                                                     Accused Products




                                     Source: TS 36.300, 1 p. 54




1
 3GPP TS 36.300 V8.12.0 (2010-03), Evolved Universal Terrestrial Radio Access (E-UTRA) and Evolved Universal Terrestrial
Radio Access Network (E-UTRAN) Overall description, Stage 2 (Release 8)

                                                              2
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Claim 1                                              Accused Products




                  Source: TS 36.300, p. 54




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                                                 Exhibit E – U.S. Patent No. 10,985,956


                  Claim 1                                                      Accused Products




                                          Source: TS 36.331, 2 p. 128


    [A][2] the assigned single access     As evidenced below, the assigned single access identifier is not randomly selected by the
    identifier is not randomly selected   mobile subscriber station.
    by the mobile subscriber station,




2
 3GPP TS 36.331 V8.21.0 (2014-06), Evolved Universal Terrestrial Radio Access (E-UTRA); Radio Resource Control (RRC);
Protocol specification (Release 8)

                                                                    4
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                                                  Exhibit E – U.S. Patent No. 10,985,956


                  Claim 1                                                      Accused Products

                                           Source: 36.321, 3 p. 13


    [A][3] the assigned single access      As evidenced below, the assigned single access identifier is useable for random access
    identifier useable for random access   channel transmission.
    channel transmission,




                                           Source: TS 36.300, p. 54




3
 3GPP TS 36.321 V8.12.0 (2012-03), Evolved Universal Terrestrial Radio Access (E-UTRA) Medium Access Control (MAC)
protocol specification (Release 8)

                                                                      5
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                                              Exhibit E – U.S. Patent No. 10,985,956


               Claim 1                                                        Accused Products
[A][4] the subset of access            As evidenced below, the subset of access identifiers being access identifiers are designated
identifiers being access identifiers   as allocatable access identifiers only useable, for communication with a base station, by the
designated as allocatable access       mobile subscriber station subsequent to assignment by the base station.
identifiers only useable, for
communication with a base station,
by the mobile subscriber station
subsequent to assignment by the
base station;




                                       Source: TS 36.300, p. 54




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                                          Exhibit E – U.S. Patent No. 10,985,956


              Claim 1                                                  Accused Products




                                    Source: TS 36.321, p. 13




                                    Source: TS 36.331, pp. 126-27


[B] receiving a transmission        As evidenced below, an Accused Product operating on an LTE network receives a
comprising an indication of the     transmission comprising an indication of the subset of access identifiers.
subset of access identifiers; and


                                                               7
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                         Exhibit E – U.S. Patent No. 10,985,956


Claim 1                                              Accused Products




                  Source: TS 36.321, p. 12




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                                            141
                           Exhibit E – U.S. Patent No. 10,985,956


Claim 1                                           Accused Products




                  Source: TS 36.321, p. 13




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                           Exhibit E – U.S. Patent No. 10,985,956


Claim 1                                            Accused Products




                  Source: TS 36.331, pp. 126-127




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                           Exhibit E – U.S. Patent No. 10,985,956


Claim 1                                           Accused Products




                  Source: TS 36.331, p. 128




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                           Exhibit E – U.S. Patent No. 10,985,956


Claim 1                                           Accused Products




                  Source: TS 36.331, pp. 25-26




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                                                 Exhibit E – U.S. Patent No. 10,985,956


               Claim 1                                                         Accused Products

                                          Source: TS 36.331, p. 21


[C][1] transmitting, from the mobile      As evidenced below, an Accused Product operating on an LTE network transmits, from the
subscriber station to the base station,   mobile subscriber station to the base station, the assigned single access identifier via the
the assigned single access identifier     random access channel.
via the random access channel,




                                          Source: TS 36.300, p. 54




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              Claim 1                                                        Accused Products




                                        Source: TS 36.300, p. 54


[C][2] the assigned single access       As evidenced below, the assigned single access identifier uniquely identifies the mobile
identifier uniquely identifying the     subscriber station to the base station according to the assignment.
mobile subscriber station to the base
station according to the assignment,




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Claim 1                                           Accused Products




                  Source: TS 36.321, p. 13




                  Source: TS 36.300, p. 54




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                  Case 2:25-cv-00066-JRG       Document 1-6 Filed 01/22/25 Page 17 of 43 PageID #:
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               Claim 1                                                      Accused Products
[C][3] the assigned single access     As evidenced below, the assigned single access identifier avoids a collision probability
identifier avoids a collision         associated with access identifiers randomly selected by another mobile subscriber station.
probability associated with access
identifiers randomly selected by
another mobile subscriber station,
and




                                      Source: TS 36.300, p. 54


[C][4] the assigned single access     As evidenced below, the assigned single access identifier avoids a collision probability
identifier avoids a collision         associated with other access identifiers in the subset of access identifiers transmitted by
probability associated with other     another mobile subscriber station.
access identifiers in the subset of
access identifiers transmitted by
another mobile subscriber station.




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              Claim 1                                                       Accused Products




                                       Source: TS 36.300, p. 54




              Claim 2                                                      Accused Products
The method of claim 1, wherein the     As evidenced below, the assigned single access identifier is used for handover to the base
assigned single access identifier is   station.
used for handover to the base
station.




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Claim 2                                           Accused Products




                  Source: TS 36.300, p. 45




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              Claim 2                                                        Accused Products




                                        Source: TS36.300, p. 46




             Claim 3                                                        Accused Products
The method of claim 1, further          As evidenced below, an Accused Product operating on an LTE network adjusts at least one
comprising:                             operating parameter of a transmission from the mobile subscriber station to the base station.

[A] adjusting at least one operating
parameter of a transmission from the
mobile subscriber station to the base
station; and




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Claim 3                                           Accused Products




                  Source: TS 36.321, p. 14




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Claim 3                                           Accused Products




                  Source: TS 36.321, p. 17




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                  Claim 3                                                    Accused Products




                                          Source: TS 36.213, 4 p. 8


    [B] releasing the assigned single     As evidenced below, an Accused Product operating on an LTE network releases the assigned
    access identifier subsequent to the   single access identifier subsequent to the adjusting.
    adjusting.




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    3GPP TS 36.213 V8.8.0 (2009-09) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures (Release 8)

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              Claim 3                                                        Accused Products

                                        Source: TS 36.321, p. 16




             Claim 4                                                        Accused Products
The method of claim 1, further          As evidenced below, an Accused Product operating on an LTE network adjusts at least one
comprising:                             operating parameter of a transmission from the mobile subscriber station to the base station.

[A] adjusting at least one operating
parameter of a transmission from the
mobile subscriber station to the base
station; and




                                        Source: TS 36.321, p. 14




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Claim 4                                           Accused Products




                  Source: TS 36.321, p. 17




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              Claim 4                                                    Accused Products




                                       Source: TS 36.213, p. 8


[B] transmitting a bandwidth request   As evidenced below, an Accused Product operating on an LTE network transmits a
message to the base station            bandwidth request message to the base station subsequent to the adjusting.
subsequent to the adjusting.




                                       Source: TS 36.300, p. 46




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             Claim 5                                                      Accused Products
The method of claim 1, further        As evidenced below, an Accused Product operating on an LTE network receives, from the
comprising:                           base station, a feedback message comprising a timing adjustment.

receiving, from the base station, a
feedback message comprising a
timing adjustment.




                                      Source: TS 36.300, p. 54




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             Claim 5                                                 Accused Products




                                 Source: TS 36.300, p. 54




             Claim 6                                                     Accused Products
The method of claim 5, further   As evidenced below, an Accused Product operating on an LTE network adjusting at least
comprising:                      one operating parameter of a transmission from the mobile subscriber station to the base
                                 station based at least in part on the feedback message.




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               Claim 6                                                  Accused Products
adjusting at least one operating
parameter of a transmission from the
mobile subscriber station to the base
station based at least in part on the
feedback message.




                                        Source: TS 36.321, p. 14




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Claim 6                                           Accused Products




                  Source: TS 36.321, p. 17




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              Claim 6                                                        Accused Products




                                        Source: TS 36.213, p. 8




                Claim 7                                                        Accused Products
The method of claim 1, wherein the      As evidenced below, the assignment of the single access identifier from the subset of access
assignment of the single access         identifiers is received by the mobile subscriber station in a dedicated message.
identifier from the subset of access
identifiers is received by the mobile
subscriber station in a dedicated
message.




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Claim 7                                           Accused Products




                  Source: TS 36.300, p. 54




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               Claim 7                                                         Accused Products




                                          Source: TS 36.331, p. 127




                Claim 8                                                           Accused Products
The method of claim 1, wherein the        As evidenced below, the assignment of the single access identifier from the subset of access
assignment of the single access           identifiers is received in at least one Orthogonal Frequency Division Multiplex (OFDM)
identifier from the subset of access      symbol of a plurality of OFDM symbols.
identifiers is received in at least one
Orthogonal Frequency Division
Multiplex (OFDM) symbol of a
plurality of OFDM symbols.




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              Claim 8                                                      Accused Products




                                      Source: TS 36.300, p. 25




             Claim 9                                                      Accused Products
The method of claim 1, further        As evidenced above, an Accused Product operating on an LTE network receives, from the
comprising:                           base station, a feedback message comprising a timing adjustment. See Claim 5.

[A] receiving, from the base station,
a feedback message comprising a
timing adjustment;
[B] adjusting at least one operating  As evidenced above, an Accused Product operating on an LTE network adjusts at least one
parameter of a transmission from the operating parameter of a transmission from the mobile subscriber station to the base station
mobile subscriber station to the base based at least in part on the feedback message. See Claim 6.


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               Claim 9                                                         Accused Products
station based at least in part on the
feedback message;
[C] transmitting a bandwidth request    As evidenced above, an Accused Product operating on an LTE network transmits a
message to the base station             bandwidth request message to the base station subsequent to the adjusting. See Claim 4, [B].
subsequent to the adjusting; and

[D] releasing the assigned single       As evidenced above, an Accused Product operating on an LTE network releases the assigned
access identifier subsequent to the     single access identifier subsequent to the adjusting. See Claim 3, [B].
adjusting,

[E] wherein the assignment of the       As evidenced above, the assignment of the single access identifier from the subset of access
single access identifier from the       identifiers of a plurality of access identifiers is received by the mobile subscriber station in a
subset of access identifiers of a       dedicated message in at least one Orthogonal Frequency Division Multiplex (OFDM)
plurality of access identifiers is      symbol of a plurality of OFDM symbols. See Claim 8.
received by the mobile subscriber
station in a dedicated message in at
least one Orthogonal Frequency
Division Multiplex (OFDM) symbol
of a plurality of OFDM symbols.


              Claim 10                                                      Accused Products
The method of claim 1, wherein the      As evidenced below, the assigned single access identifier is used for a specific type of
assigned single access identifier is    request different from handover.
used for a specific type of request
different from handover.




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              Claim 10                                                        Accused Products




                                         Source: TS 36.300, p. 54




              Claim 11                                                       Accused Products
The method of claim 1, wherein the       As evidenced below, the assigned single access identifier is a code division multiple access
assigned single access identifier is a   (CDMA) code.
code division multiple access
(CDMA) code.


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              Claim 11                                                        Accused Products




                                        Source: TS 36.300, p. 29




            Claim 12                                                       Accused Products
[PRE] A mobile subscriber station       An Accused Product is a “mobile subscriber station.”
comprising:

[A][1] a receiver operable to receive   The Accused Products include hardware/software configured to receive signals when
an assignment of a single access        communicating using LTE (i.e., a receiver). As evidenced above, the hardware/software
identifier from a subset of access      configured to receive signals when communicating using LTE is operable to receive an
identifiers of a plurality of access    assignment of a single access identifier from a subset of access identifiers of a plurality of
identifiers,                            access identifiers. See Claim 1, [A][1].


[A][2] the assigned single access       As evidenced above, the assigned single access identifier is not randomly selected by the
identifier is not randomly selected     mobile subscriber station. See Claim 1, [A][2].
by the mobile subscriber station,

[A][3] the assigned single access       As evidenced above, the assigned single access identifier is useable for random access
identifier useable for random access    channel transmission. See Claim 1, [A][3].
channel transmission,




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               Claim 12                                                         Accused Products
[A][4] the subset of access              As evidenced above, the subset of access identifiers being access identifiers are designated
identifiers being access identifiers     as allocatable access identifiers only useable, for communication with a base station, by the
designated as allocatable access         mobile subscriber station subsequent to assignment by the base station. See Claim 1, [A][4].
identifiers only useable, for
communication with a base station,
by the mobile subscriber station
subsequent to assignment by the
base station;
[B] the receiver operable to receive a   As evidenced above, the hardware/software configured to receive signals when
transmission comprising an               communicating using LTE is operable to receive a transmission comprising an indication of
indication of the subset of access       the subset of access identifiers. See Claim 1, [B].
identifiers; and

[C][1] a transmitter operable to         The Accused Products include hardware/software configured to transmit signals when
transmit, from the mobile subscriber     communicating using LTE (i.e., a transmitter). As evidenced above, the hardware/software
station to the base station, the         configured to transmit signals when communicating using LTE is operable to transmit, from
assigned single access identifier via    the mobile subscriber station to the base station, the assigned single access identifier via the
the random access channel,               random access channel. See Claim 1, [C][1].


[C][2] the assigned single access        As evidenced above, the assigned single access identifier uniquely identifies the mobile
identifier uniquely identifying the      subscriber station to the base station according to the assignment. See Claim 1, [C][2].
mobile subscriber station to the base
station according to the assignment,
[C][3] the assigned single access        As evidenced above, the assigned single access identifier avoids a collision probability
identifier avoids a collision            associated with access identifiers randomly selected by another mobile subscriber station.
probability associated with access       See Claim 1, [C][3].
identifiers randomly selected by
another mobile subscriber station,
and




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              Claim 12                                                       Accused Products
[C][4] the assigned single access      As evidenced above, the assigned single access identifier avoids a collision probability
identifier avoids a collision          associated with other access identifiers in the subset of access identifiers transmitted by
probability associated with other      another mobile subscriber station. See Claim 1, [C][4].
access identifiers in the subset of
access identifiers transmitted by
another mobile subscriber station.


              Claim 13                                                     Accused Products
The mobile subscriber station of       As evidenced below, the assigned single access identifier is used for handover to the base
claim 12, wherein the assigned         station. See Claim 2.
single access identifier is used for
handover to the base station.


              Claim 14                                                       Accused Products
The mobile subscriber station of       The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
claim 12, further comprising:          processor(s) in a data communications module) configured to implement and/or support LTE
                                       communications. As evidenced above, the one or more processors are operable to adjust at
[A] a processor operable to adjust at  least one operating parameter of a transmission from the mobile subscriber station to the
least one operating parameter of a     base station. See Claim 3, [A].
transmission from the mobile
subscriber station to the base station,
[B] and to release the assigned         As evidenced above, the one or more processors are operable to release the assigned single
single access identifier subsequent to access identifier subsequent to the adjustment. See Claim 3, [B]
the adjustment.



              Claim 15                                                     Accused Products
The mobile subscriber station of       The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
claim 12, further comprising:          processor(s) in a data communications module) configured to implement and/or support LTE
                                       communications. As evidenced above, the one or more processors are operable to adjust at


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              Claim 15                                                          Accused Products
[A] a processor operable to adjust at     least one operating parameter of a transmission from the mobile subscriber station to the
least one operating parameter of a        base station. See Claim 4, [A].
transmission from the mobile
subscriber station to the base station.
[B] wherein the transmitter is further    As evidenced above, the hardware/software configured to transmit signals when
operable to transmit a bandwidth          communicating using LTE is operable to transmit a bandwidth request message to the base
request message to the base station       station subsequent to the adjustment. See Claim 4, [B].
subsequent to the adjustment.



               Claim 16                                                       Accused Products
The mobile subscriber station of          As evidenced above, the hardware/software configured to receive signals when
claim 12, wherein the receiver is         communicating using LTE is operable to receive, from the base station, a feedback message
further operable to receive, from the     comprising a timing adjustment. See Claim 5.
base station, a feedback message
comprising a timing adjustment.


              Claim 17                                                            Accused Products
The mobile subscriber station of          The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
claim 16, further comprising:             processor(s) in a data communications module) configured to implement and/or support LTE
                                          communications. As evidenced above, the one or more processors are operable to adjust at
a processor operable to adjust at         least one operating parameter of a transmission from the mobile subscriber station to the
least one operating parameter of a        base station based at least in part on the feedback message. See Claim 6.
transmission from the mobile
subscriber station to the base station
based at least in part on the feedback
message.




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               Claim 18                                                           Accused Products
The mobile subscriber station of           As evidenced above, the hardware/software configured to receive signals when
claim 12, wherein the receiver is          communicating using LTE is operable to receive the assignment of the single access
operable to receive the assignment         identifier from the subset of access identifiers in a dedicated message. See Claim 7.
of the single access identifier from
the subset of access identifiers in a
dedicated message.


              Claim 19                                                             Accused Products
The mobile subscriber station of           As evidenced above, the hardware/software configured to receive signals when
claim 12, wherein the receiver is          communicating using LTE is operable to receive the assignment of the access identifier from
operable to receive the assignment         the subset of access identifiers in at least one Orthogonal Frequency Division Multiplex
of the access identifier from the          (OFDM) symbol of a plurality of OFDM symbols. See Claim 8.
subset of access identifiers in at least
one Orthogonal Frequency Division
Multiplex (OFDM) symbol of a
plurality of OFDM symbols.


             Claim 20                                                          Accused Products
The mobile subscriber station of           As evidenced above, the hardware/software configured to receive signals when
claim 12,                                  communicating using LTE is operable to receive, from the base station, a feedback message
                                           comprising a timing adjustment. See Claim 5.
[A] wherein the receiver is further
operable to receive, from the base
station, a feedback message
comprising a timing adjustment,
further comprising:
[B] a processor operable to adjust at      The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
least one operating parameter of a         processor(s) in a data communications module) configured to implement and/or support LTE
transmission from the mobile               communications. As evidenced above, the one or more processors are operable to adjust at
subscriber station to the base station     least one operating parameter of a transmission from the mobile subscriber station to the
                                           base station based at least in part on the feedback message. See Claim 6.


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               Claim 20                                                     Accused Products
based at least in part on the feedback
message;
[C] the transmitter further operable   As evidenced above, the hardware/software configured to transmit signals when
to transmit a bandwidth request        communicating using LTE is operable to transmit a bandwidth request message to the base
message to the base station            station subsequent to the adjustment. See Claim 4, [B].
subsequent to the adjustment;

[D] the processor further operable to    As evidenced above, the one or more processors are operable to release the assigned single
release the assigned single access       access identifier subsequent to the adjustment. See Claim 3, [B]
identifier subsequent to the
adjustment; and
[E] the receiver further operable to     As evidenced above, the hardware/software configured to receive signals when
receive the assignment of the single     communicating using LTE is operable to receive the assignment of the single access
access identifier from the subset of     identifier from the subset of access identifiers in a dedicated message in at least one
access identifiers in a dedicated        Orthogonal Frequency Division Multiplex (OFDM) symbol of a plurality of OFDM
message in at least one Orthogonal       symbols. See Claim 8.
Frequency Division Multiplex
(OFDM) symbol of a plurality of
OFDM symbols.




              Claim 21                                                        Accused Products
The mobile subscriber station of         As evidenced above, the assigned single access identifier is used for a specific type of
claim 12, wherein the assigned           request different from handover. See Claim 10.
single access identifier is used for a
specific type of request different
from handover.




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              Claim 22                                                   Accused Products
The mobile subscriber station of     As evidenced above, the assigned single access identifier is a code division multiple access
claim 12, wherein the assigned       (CDMA) code. See Claim 11.
single access identifier is a code
division multiple access (CDMA)
code.




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